          Case 5:17-cv-00079-JLH Document 49 Filed 06/01/18 Page 1 of 9
                               United States Court of Appeals
                                      For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                    St. Louis, Missouri 63102
                                                                                    VOICE (314) 244-2400
Michael E. Gans
                                                                                      FAX (314) 244-2780
 Clerk of Court
                                                                                    www.ca8.uscourts.gov

                                                            June 01, 2018


Mr. Charles Hamner
ARKANSAS DEPARTMENT OF CORRECTIONS - VARNER SUPERMAX
143063
P.O. Box 400
Grady, AR 71644-0400

       RE: 18-2181 Charles Hamner v. Danny Burls, et al                    5:17-cv-00079-JLH

Dear Mr. Hamner:

       The district court clerk has transmitted a notice of appeal in this matter, and we have
docketed it under the caption and case number shown above. Please include the caption and case
number on all correspondence or pleadings submitted to the court.

      Counsel in the case must supply the clerk with an Appearance Form. Counsel may
download or fill out an Appearance Form on the "Forms" page on our web site at
www.ca8.uscourts.gov.

       The district court has granted you leave to proceed in forma pauperis and has set a
payment schedule. All payments must be made to the district court clerk's office. Payments
should bear the inmate's name and register number, as well as the district court case number. The
payment should also indicate that it is being applied to the appeal fee for this case. Any questions
about payment of the fee should be directed to the clerk of the district court.

        An order setting a briefing schedule will be forwarded under separate notice of docket
activity. Please note that all pleadings must be filed on a timely basis and that any request for
additional time to file a brief must show a good cause for the extension of time. If you file
handwritten pleadings, please write as clearly as possible. The court strictly enforces the page
limits for briefs and overlength briefs will be rejected.

        Please note that service by pro se parties is governed by Eighth Circuit Rule 25B. A copy
of the rule and additional information is attached to the pro se party's copy of this notice.

                                                            Michael E. Gans
                                                            Clerk of Court

CMH

Enclosure(s)



   Appellate Case: 18-2181         Page: 1          Date Filed: 06/01/2018 Entry ID: 4668112
           Case 5:17-cv-00079-JLH Document 49 Filed 06/01/18 Page 2 of 9
cc:      Mr. William C Bird III
         Mr. Jim McCormack

            District Court/Agency Case Number(s): 5:17-cv-00079-JLH




      Appellate Case: 18-2181     Page: 2   Date Filed: 06/01/2018 Entry ID: 4668112
          Case 5:17-cv-00079-JLH Document 49 Filed 06/01/18 Page 3 of 9
Caption For Case Number: 18-2181

Charles Hamner

             Plaintiff - Appellant

v.

Danny Burls, Warden, Maximus Security Unit, ADC; Connie Jenkins, Classification
Supervisor/Officer, Maximum Security Unit, ADC; Maurice Williams, Major, Maximum
Security Unit, ADC; Steve Outlaw, Deputy Warden, Maximum Security Unit, ADC; Marvin
Evans, Deputy Director, ADC

             Defendants - Appellees




     Appellate Case: 18-2181         Page: 3   Date Filed: 06/01/2018 Entry ID: 4668112
         Case 5:17-cv-00079-JLH Document 49 Filed 06/01/18 Page 4 of 9
Addresses For Case Participants: 18-2181

Mr. Charles Hamner
ARKANSAS DEPARTMENT OF CORRECTIONS - VARNER SUPERMAX
143063
P.O. Box 400
Grady, AR 71644-0400

Mr. William C Bird III
ATTORNEY GENERAL'S OFFICE
200 Catlett-Prien Building
323 Center Street
Little Rock, AR 72201-0000

Mr. Jim McCormack
U.S. DISTRICT COURT
Eastern District of Arkansas
Room A149
600 W. Capitol Avenue
Little Rock, AR 72201-0000




  Appellate Case: 18-2181      Page: 4     Date Filed: 06/01/2018 Entry ID: 4668112
         Case 5:17-cv-00079-JLH Document 49 Filed 06/01/18 Page 5 of 9




             18-2181 Charles Hamner v. Danny Burls, et al "PRISONER case docketed "
             (5:17-cv-00079-JLH)
             ca08ml_cmecf_Notify    to:                                       06/01/2018 10:10 AM


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                               Eighth Circuit Court of Appeals

Notice of Docket Activity

The following transaction was filed on 06/01/2018
                 Charles Hamner v. Danny Burls,
Case Name:
                 et al
Case Number:
                 18-2181
Document(s): Document(s)

Docket Text:
Prisoner case docketed. [4668112] [18-2181] (Crystal Henderson)

Notice will be electronically mailed to:

Mr. William C Bird, III: william.bird@arkansasag.gov, debra.sebring@arkansasag.gov,
agcivil@arkansasag.gov
Mr. Jim McCormack, Clerk of Court: ared_appeals@ared.uscourts.gov


Notice will be mailed to:


Mr. Charles Hamner
ARKANSAS DEPARTMENT OF CORRECTIONS - VARNER SUPERMAX
P.O. Box 400
Grady, AR 71644-0400

The following document(s) are associated with this transaction:
Document Description: Prisoner Civil Rights Letter
Original Filename:
/opt/ACECF/live/forms/CrystalHenderson_182181_4668112_PrisonerCivilRightsLetters_171.pd
f
          Case 5:17-cv-00079-JLH Document 49 Filed 06/01/18 Page 6 of 9



Electronic Document Stamp:
[STAMP acecfStamp_ID=1105112566 [Date=06/01/2018] [FileNumber=4668112-0]
[3390394f85b3c68601dde94deed12dbca9a7954bc4cd45c4701a50a224fdfd46c3481ffbb81f0bc1
6e82ffa451bc6a31b8bd5a1e188cf8e312044e75a9860b21]]
Recipients:
    Mr. William C Bird, III
    Mr. Charles Hamner
    Mr. Jim McCormack, Clerk of Court

The following information is for the use of court personnel:


DOCKET ENTRY ID: 4668112
RELIEF(S) DOCKETED:
DOCKET PART(S) ADDED: 6059640, 6059641, 6059642
              Case 5:17-cv-00079-JLH Document 49 Filed 06/01/18 Page 7 of 9
                                UNITED STATES COURT OF APPEALS
                                              FOR THE EIGHTH CIRCUIT

                                   APPEAL BRIEFING SCHEDULE ORDER


Appeal No.           18-2181 Charles Hamner v. Danny Burls, et al

Date:                June 01, 2018

        If the original file of the United States District Court is available for review in electronic
format, the court will rely on the electronic version of the record in its review. The appendices
required by Eighth Circuit Rule 30A shall not be required. In accordance with Eighth Circuit
Local Rule 30A(a)(2), the Clerk of the United States District Court is requested to forward to this
Court forthwith any portions of the original record which are not available in an electronic
format through PACER, including any documents maintained in paper format or filed under seal,
exhibits, CDs, videos, administrative records and state court files.

                                                       FILING DATES:

          NOTE: These dates may be advanced if a party files a brief early. The dates may
                also be extended if party obtains an extension of time. See FRAP 31(a).



Appellant Brief: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .07/11/2018
  ( Charles Hamner )


Appellee Brief. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30 days from the date the court issues
                                                                   the Notice of Docket Activity filing the brief.

Reply Brief . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .14 days from the date the court issues
                                                                     the Notice of Docket Activity filing the brief.

                      Please note the provisions of Eighth Circuit Rule 32A concerning
                      the filing of briefs and reply briefs responding to multiple briefs.


                                  ALL BRIEFS MUST BE FILED WITH THE
                                       ST. LOUIS CLERK'S OFFICE




    Appellate Case: 18-2181                    Page: 1           Date Filed: 06/01/2018 Entry ID: 4668144
          Case 5:17-cv-00079-JLH Document 49 Filed 06/01/18 Page 8 of 9




              18-2181 Charles Hamner v. Danny Burls, et al "Civil Briefing Schedule Set "
              (5:17-cv-00079-JLH)
              ca08ml_cmecf_Notify   to:                                         06/01/2018 10:44 AM


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                               Eighth Circuit Court of Appeals

Notice of Docket Activity

The following transaction was filed on 06/01/2018
                 Charles Hamner v. Danny Burls,
Case Name:
                 et al
Case Number:
                 18-2181
Document(s): Document(s)

Docket Text:
BRIEFING SCHEDULE SET AS FOLLOWS: If the original file of the U.S. District Court is
available for review in electronic format, the court will rely on the electronic version of the
record in its review. The appendices required by 8th Circuit Rule 30A shall not be required. In
accordance with 8th Circuit Local Rule 30A (a)(2), the clerk of the United States District Court
is requested to forward to this Court forthwith any portions of the original record which are not
available in an electronic format or filed under seal, exhibits, administrative records and state
court files.
BRIEF OF APPELLANT Charles Hamner due 07/11/2018.
Appellee brief is due 30 days from the date the court issues the Notice of Docket Activity filing
the brief of appellant.
Appellant reply brief is due 14 days from the date the court issues the Notice of Docket Activity
filing the appellee brief. [4668144] [18-2181] (Crystal Henderson)

Notice will be electronically mailed to:

Mr. William C Bird, III: william.bird@arkansasag.gov, debra.sebring@arkansasag.gov,
agcivil@arkansasag.gov
Mr. Jim McCormack, Clerk of Court: ared_appeals@ared.uscourts.gov


Notice will be mailed to:
          Case 5:17-cv-00079-JLH Document 49 Filed 06/01/18 Page 9 of 9




Mr. Charles Hamner
ARKANSAS DEPARTMENT OF CORRECTIONS - VARNER SUPERMAX
P.O. Box 400
Grady, AR 71644-0400

The following document(s) are associated with this transaction:
Document Description: Briefing Schedule
Original Filename:
/opt/ACECF/live/forms/CrystalHenderson_182181_4668144_ProSeBriefingSchedule_176.pdf
Electronic Document Stamp:
[STAMP acecfStamp_ID=1105112566 [Date=06/01/2018] [FileNumber=4668144-0]
[cbd2a052e0f3e2e5a2a1aa335961b0c6c3a327d71726dab93a35fba8d2cd1275e60072def94ee158
b0e78efb56318969bccc8fc9562cfec4967a3add6dc5ae84]]
Recipients:
    Mr. William C Bird, III
    Mr. Charles Hamner
    Mr. Jim McCormack, Clerk of Court

The following information is for the use of court personnel:


DOCKET ENTRY ID: 4668144
RELIEF(S) DOCKETED:
DOCKET PART(S) ADDED: 6059700, 6059701
